            Case 1:95-cr-00942-JPC Document 393 Filed 12/14/20 Page 1 of 4




                                                         Ronald OCASIO Din: 94A5445
                                                  Graen Hsv n Corractional Facility
                                                                       594 Route 216
                                                               Stormvi lle , NV 12582

Clarks' Office
U.S. District Court
Sout m 01 trict Court of N• w York
U.S. Caurthoua•
500 P arl Streat
N w York , NV 10007

        In R : Ronald OCASIO v. United state• ,
               95 CR. 942 (DAB)
        Sub:     Motion Status
                                                                    o• c    bar   a,   2020


Dear Curt Clark:
       I am ths petition r in th afor mentioned cas      nd I am inquiring into
the etetua of th 18 u.s.c. § 2255 motion I f ilad with thie caurt on Novamb r
27, 2020 (s   attachm nt ).
       Thenk you for your • tt nt1on in thin matter. I remain.

                                                                           Rep ct fully,


                                                                           Ronald OCASIO

cc : Fila
                Case 1:95-cr-00942-JPC Document 393 Filed 12/14/20 Page 2 of 4
!.




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                                                                                      594 R:J:.i1a 216
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     sa ..rth~rr: D.. Etdct ~f i 1~,w Y~rk
     LJ. 5, C:i-Wl'':l",c,;J6:':, Pra SB l t"i'r-Sk~ Unit
     500 P 2d Strrz- 't.
     Na~ V~- k, NY 10DD7

               I :-i R:t• : Ro Edd OCASIO v . Urti t ,~d Stdecs,
                         95 CR. 942 (D AB); 2~d Cir . D=ck~t 19-~57
                                               Case 1:95-cr-00942-JPC Document 393 Filed 12/14/20 Page 3 of 4
           !
                                                     STATE OF NEW YORK· DEPARTMENT OF CORRECTIONS AND COMMUNITY SUPERV!S10!\!
                                                                                         DISBURSEMENT OR REFUND REQUEST                                                                                           CELL LOCATION




                      NAME                                                                                                                                   DATE                                                       20



                                                            INMATE NUMBER       I                     I I I I                                             I                     "SHORT NAME"   I
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                      COMMISSARY PRODUCT GROUP        •                                                   RIGHT ADJUST ED WITH LEADING ZEROS



                                                                                                           AMOUNT$    .___I~1_____,,l____.l______l
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                              (SEE TABLE 8-6)

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                                                   ADDRESS
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                               PURCHASE FROM
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                                                                                                                                                                         I HEREBY ACKNOWLEDGE EXPENDITURE OF THE
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                                                                                                                                                                         ACCOUNT.
                      APPROVED                                                                                    DATE
                                                                   (SOURCE AREA)


                      APPROVED                                                                                    DATE
                                                            (BUSINESS OFFICE)                                                                                                              (INMATE SIGNATURE)

                      FORM 2706 (7/11)                                             Original - Business Office         Yellow - Approving Office                     Pink - Inmate


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                                                     STATE OF NEW YORK· DEPARTMENT OF CORRECTIONS AND COMMUNITY SUPERVISION
                                                                                         DISBURSEMENT OR REFUND REQUEST                                                                                          CELL LOCATION




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                     COMMISSARY PRODUCT GROUP        •                                                    RIGHT ADJUSTED WITH LEADING ZEROS



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                             (SEE TABLE B-6)

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                     APPROVED                                                                                    DATE
                                                             (SOURCE AREA)


                     APPROVED                                                                                    DATE
                                                        (BUSINESS OFFICE)                                                                                                                 (INMATE SIGNATURE)

                     FORM 2706 (7/ 11)                                          Original - Business Office           Yellow - Approving Office                    Pink - Inmate
              Case 1:95-cr-00942-JPC Document 393 Filed 12/14/20 Page 4 of 4




   GREEN HAVEN CORRECTIONAL FACILITY                                                                                                .;.,;~:-;:.::.-;..;:._;;              ::.i     -·   ~-     .~.
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